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The following constitutes the ruling of the court and has the force and effect therein described.



Signed May 28, 2024
                                           United States Bankruptcy Judge
______________________________________________________________________




                                UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION


        IN RE:
                                                                    CASE NO.: 22-31780-swe13
        George Dale Wigington
                                                                    CHAPTER 13
        dba Law Office of G.D. Wigington PLLC,

        Debtor,

                          AGREED ORDER RESETTING DOCKET CALL DATE
                                (Debtor’s Objection to Claim, DE# 70)

             TRIAL on Debtor’s Objection to Claim, DE #70, is reset before the Honorable Scott W.
      Everett at Earle Cabell Federal Building, 100 Commerce Street, 14th Floor, Courtroom #3,
      Dallas TX 75242 the week of August 5, 2024. Docket call for this trial will be held on July 29, 2024
      at 9:30 AM via Webex at https://us-courts.webex.com/meet/everett. A pretrial conference shall be
      scheduled by the parties at least seven (7) calendar days prior to trial docket call in a complex
      adversary proceeding if the parties anticipate that trial will exceed one day or if there are preliminary
      matters that should be addressed by the Court prior to the commencement of trial.



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                                      ### End of Order ###

Agreed:


__/s/Tricia Ann Morra ___                           Date: __May 24, 2024___
Tricia Ann Morra
Attorney for NewRez LLC d/b/a Shellpoint Mortgage Servicing
as servicer for US Bank Trust National Association, Not In Its
Individual Capacity But Solely As Owner Trustee For VRMTG
Asset Trust


__/s/ George Dale Wigington____                   Date: ___ May 24, 2024__
George Dale Wigington
Debtor




Submitted by:
George Dale Wigington
TXBN 24091665
Dalewig10@verizon.net
Debtor




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                                  WebEx Hearing Instructions
                                         Judge Scott W. Everett
Pursuant to General Order 2023-05 issued by the Court on September 19, 2023, hearings before Judge Scott W.
Everett will be conducted pursuant to the guidelines set forth in the General Order unless ordered otherwise.

For WebEx Video Participation/Attendance:
Link:   https://us-courts.webex.com/meet/everett

For WebEx Telephonic Only Participation/Attendance:
Dial-In: 1-650-479-3207; Access code: 2304 017 9738

Participation/Attendance Requirements:
x       Counsel and other parties-in-interest who plan to actively participate in the hearing are encouraged to
        attend the hearing in the WebEx video mode using the WebEx video link above. Counsel and other
        parties-in-interest who will not be seeking to introduce any evidence at the hearing and who wish to
        attend the hearing in a telephonic-only mode may attend the hearing in the WebEx telephonic-only
        mode using the WebEx dial-in and access code above.
x       Attendees should join the WebEx hearing at least 10 minutes prior to the hearing start time. Please be
        advised that a hearing may already be in progress. During hearings participants are required to keep
        their lines on mute when they are not addressing the Court or otherwise actively participating in the
        hearing. The Court reserves the right to disconnect or place on permanent mute any attendee
        that causes any disruption to the proceedings. For general information and tips with respect to
        WebEx participation and attendance, please see Clerk’s Notice 20-04:
        https://www.txnb.uscourts.gov/sites/txnb/files/hearings/Webex%20Information%20and%20Tips_0.pdf
x       Witnesses are required to attend the hearing in the WebEx video mode, and live testimony will
        only be accepted from witnesses who have the WebEx video function activated. Telephonic
        testimony without accompanying video will not be accepted by the Court. The Court may consider
        special requests for other appearance options on a case-by-case basis.
x       All WebEx hearing attendees are required to comply with Judge Everett’s Telephonic and
        Videoconference Hearing Policy (included within Judge Everett’s Judge-Specific Guidelines):
        https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-everetts-hearing-dates .

Exhibit Requirements:
x       Any party intending to introduce documentary evidence at the hearing must file an exhibit list in the
        case with a true and correct copy of each designated exhibit filed as a separate, individual attachment
        thereto so that the Court and all participants have ready access to all designated exhibits.
x       In addition, for evidentiary hearings, when more than ten exhibits have been filed in ECF or when the
        total page count of all exhibits exceeds 500 pages, Judge Everett requests a thumb/USB drive be
        delivered to him prior to the hearing at: U.S. Bankruptcy Court, Attn: Stephen Manz, 1100 Commerce
        Street, Room 1254, Dallas, TX 75242.
x       Paper copies of exhibits are not encouraged; however, paper copies may be provided to the
        witness(s) at an in-person hearing if preferred.

Notice of Hearing Content and Filing Requirements:
IMPORTANT: For all hearings that will be conducted by WebEx only:
x       The Notice of Hearing filed in the case and served on parties in interest must: (1) provide notice that
        the hearing will be conducted by WebEx videoconference only, (2) provide notice of the aboveWebEx
        video participation/attendance link, and (3) attach a copy of these WebEx Hearing Instructions or
        provide notice that they may be obtained from Judge Everett’s hearing/calendar site:
        https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-everetts-hearing-dates .
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x       When electronically filing the Notice of Hearing via CM/ECF select “at https://us-
        courts.webex.com/meet/everett” as the location of the hearing (note: this option appears immediately
        after the first set of Wichita Falls locations). Do not select Judge Everett’s Dallas courtroom as the
        location for the hearing.

     CONNECTION INSTRUCTIONS FOR PARTICIPATING IN A WEBEX VIRTUAL HEARING
    The Court will allow participation in a virtual hearing using either of the following two methods. Please
    connect at least 10 minutes prior to the hearing time. It is recommended that attorneys discuss the logistics
    of the WebEx appearance with their clients/witnesses at least 48 hours before the hearing.
    Option 1: Using the WebEx app on your smartphone, tablet, laptop, or desktop.
    Please connect using only one device. Using two or more devices may cause audio feedback issues.
    If using a phone or tablet for video, it should be set in a stationary position. Holding a phone or tablet in
    your hand while speaking does not yield a good video for the court.
    NOTE: If you are experiencing audio issues when using the WebEx application, you may use the “Call
    Me At” selection under “Audio Connection” to move just the audio portion of the WebEx conference to
    your telephone.
    Option 2: Call in via phone (audio only).
    Webex dial-in number: 1-650-479-3207 (access code: 2304 017 9738).

    HELPFUL HINTS AND ETIQUETTE

    x   3OHDVH XVH WKH PXWHIXQFWLRQ ZKHQ \RXDUH QRWVSHDNLQJ 3OHDVH EH DZDUH WKDWௗVRPHWLPHV WKH FRXUW
        mutes everyone when there is background QRLVHௗ When you want to speak, make sure you are not on
        mute. Call-in users should dial *6 to unmute your line.

    x   Remember to state your name for the record each time before speaking and speak slowly and clearly
        so the Court can get a good record.

    x   Use headphones whenever possible, especially if using a desktop PC with external VSHDNHUVௗ:H have
        foundthat newer iPhones provide the best visual and audio feed – better than most desktop computers.
        If you are on a personal computer, headphones or earbuds are required for those who need to speak
        during the hearing.

    x   During examination, attorneys and witnesses should use a separate camera and microphone when
        possible. To avoid feedback, parties using separate devices must not be in the same room. The Court
        may consider special requests on a case-by-case basis.
    x   WebEx participants may use the "share" button to easily share their screen or document with the
        Court or other WebEx SDUWLFLSDQWVௗ Press “stop sharing” to remove the presentation from the meeting.

    x   When making an appearance from a vehicle, please park in a safe location with windows rolled up (to
        minimize background distraction and noise) and use a headset that is ear-to-phone (not the vehicle’s
        hands-free speaker-phone option).

    x   Suggestions for participating in a WebEx hearing from home: If you are having connectivity
        problems, turn off devices that may be using bandwidth on your home network. Devices or
        applications such as Facetime, Roku, streaming media players, video games, or large downloads can
        negatively impact the audio and video quality of the WebEx meeting.

    x   Participants are reminded that they should wear attire suitable for court.

    x   Participants who wish to test their WebEx connection or the share screen functionality in advance of
        the hearing may arrange a “practice run” by contacting the courtroom deputy.
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EXHIBITS AND DEMONSTRATIVE AIDS
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Exhibits should be filed ahead of time by the date that they would normally be exchanged pursuant to our
local rules using the "list (witness/exhibit/generic)" OR "notice (generic)” OR “Support/Supplemental
document” event in ECF.
Demonstrative aids and Power Points should also be filed prior to the hearing, if possible. If not, WebEx
has the ability to allow you to share your screen, or a particular document, with everyone in the hearing. If
these documents are admitted as exhibits, they would then have to be filed after the hearing.
  x   During the hearing, lawyers can refer to (and offer) their exhibits by referencing the exhibit’s
      docket number for the court and all to access. After the hearing, the court will create a Minute
      Entry reflecting which exhibits were admitted. You should consider emailing exhibits to witnesses
      ahead of time since theymay not have access to PACER.
  x   In addition for evidentiary hearings, when more than ten exhibits have been filed in
      ECF or when the total page count of all exhibits exceeds 500 pages, Judge Everett
      requests a thumb/USB drive be delivered to him prior to the hearing at: U.S.
      Bankruptcy Court, Attn: Stephen Manz, 1100 Commerce Street, Room 1254, Dallas,
      TX 75242.
  x   Paper copies of exhibits are not encouraged; however, paper copies may be
      provided to the witness(s) at an in-person hearing if preferred.
